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              EXHIBIT A – SOUTHEAST MISSOURI STATE UNIVERSITY


You are commanded to produce to Sanders Warren & Russell LLP, copies of employment records
regarding William “BJ” Smith, including but not limited to, application for employment, job
description, attendance records, performance evaluations, counseling or discipline records, W-2s,
earnings and payroll record or other records in your custody and control pertaining to said
individual. This request includes any documents and information related to violations related to
Mr. Smith’s job as head basketball coach, including but not limited to NCAA and NJCAA.
Upon receipt of Subpoena Duces Tecum, please contact Kathy Bowen at Sanders Warren &
Russell at 913-234-6147 to discuss production of the materials. In lieu of appearing on the date
and time stated on your Subpoena, you may produce the requested documents electronically prior
to March 20, 2023.
